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                              Part D Pg 1 of 21




                    EXHIBIT 7-D
          12-12020-mg      Doc 1740-10         Filed 10/05/12 Entered 10/05/12 19:18:12   Exhibit 7
                                                 Part D Pg 2 of 21
                   RESIDENTIAL ASSET MORTGAGE PRODUCTS, INC.,

                                   Depositor,

                        RESIDENTIAL FUNDING CORPORATION,

                                Master Servicer,

                                       and

                           JPMORGAN CHASE BANK, N.A.,

                                     Trustee

                         POOLING AND SERVICING AGREEMENT

                            DATED AS OF APRIL 1, 2006

                 MORTGAGE ASSET-BACKED PASS-THROUGH CERTIFICATES

                                 Series 2006-RS3



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     This Pooling and Servicing Agreement, effective as of April 1, 2006, among
RESIDENTIAL ASSET MORTGAGE PRODUCTS, INC., as depositor (together with its
permitted successors and assigns, the "Depositor"), RESIDENTIAL FUNDING
CORPORATION, as master servicer (together with its permitted successors and
assigns, the "Master Servicer"), and JPMORGAN CHASE BANK, N.A., a national
banking association organized under the laws of the United States, as trustee
(together with its permitted successors and assigns, the "Trustee").
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date or dates subsequent to the Due Date in the related Due Period.
                                                                                       Exhibit 7
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     Appraised Value: With respect to any Mortgaged Property, one of the
following: (i) the lesser of (a) the appraised value of such Mortgaged Property
based upon the appraisal made at the time of the origination of the related
Mortgage Loan, and (b) the sales price of the Mortgaged Property at such time of
origination, (ii) in the case of a Mortgaged Property securing a refinanced or
modified Mortgage Loan, one of (1) the appraised value based upon the appraisal
made at the time of origination of the loan which was refinanced or modified,
(2) the appraised value determined in an appraisal made at the time of
refinancing or modification or (3) the sales price of the Mortgaged Property, or
(iii) with respect to the Mortgage Loans for which a broker's price opinion was
obtained, the value contained in such opinion.

     Assignment: An assignment of the Mortgage, notice of transfer or equivalent
instrument, in recordable form, sufficient under the laws of the jurisdiction
wherein the related Mortgaged Property is located to reflect of record the sale
of the Mortgage Loan to the Trustee for the benefit of Certificateholders, which
assignment, notice of transfer or equivalent instrument may be in the form of
one or more blanket assignments covering Mortgages secured by Mortgaged
Properties located in the same county, if permitted by law and accompanied by an
Opinion of Counsel to that effect.

     Assignment Agreement: The Assignment and Assumption Agreement, dated the
Closing Date, between Residential Funding and the Depositor relating to the
transfer and assignment of the Mortgage Loans.

     Assignment of Proprietary Lease: With respect to a Cooperative Loan, the
assignment of the related Cooperative Lease from the Mortgagor to the originator
of the Cooperative Loan.

     Available Distribution Amount: With respect to any Distribution Date, an
amount equal to (a) the sum of (i) the amount relating to the Mortgage Loans on
deposit in the Custodial Account as of the close of business on the immediately
preceding Determination Date, including any Subsequent Recoveries, and amounts
deposited in the Custodial Account in connection with the substitution of
Qualified Substitute Mortgage Loans, (ii) the amount of any Advance made on the
immediately preceding Certificate Account Deposit Date with respect to the
Mortgage Loans, (iii) any amount deposited in the Certificate Account on the
related Certificate Account Deposit Date pursuant to Section 3.12(a) in respect
of the Mortgage Loans, (iv) any amount that the Master Servicer is not permitted
to withdraw from the Custodial Account pursuant to Section 3.16(e) in respect of
the Mortgage Loans, (v) any amount deposited in the Certificate


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Account pursuant to Section 4.07 and any amounts deposited in the Custodial
Account pursuant to Section 9.01 and (vi) any amount described in clauses (i)
and (ii) of Section 4.09(c), reduced by (b) the sum as of the close of business
on the immediately preceding Determination Date of: (w) any payments or
collections consisting of prepayment charges on the Mortgage Loans that were
received during the related Prepayment Period, (x) the Amount Held for Future
Distribution, (y) amounts permitted to be withdrawn by the Master Servicer from
the Custodial Account pursuant to clauses (ii)-(xi), inclusive, of Section
3.10(a) and (z) any Net Swap Payments owed to the Swap Counterparty and Swap
Termination Payments owed to the Swap Counterparty not due to Swap Counterparty
Trigger Event for such Distribution Date.

     Balloon Loan: Each of the Mortgage Loans having an original term to
maturity that is shorter than the related amortization term.

     Balloon Payment: With respect to any Balloon Loan, the related Monthly
Payment payable on the stated maturity date of such Balloon Loan.

     Bankruptcy Code: The Bankruptcy Code of 1978, as amended.

     Basis Risk Shortfall: Any Class A Basis Risk Shortfall or Class M Basis
Risk Shortfall.

     Basis Risk Shortfall Carry-Forward Amount: Any Class A Basis Risk Shortfall
Carry-Forward Amount or Class M Basis Risk Shortfall Carry-Forward Amount, as
applicable.
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McGraw-Hill Companies, Inc. or its successors in interest.
                                                                                       Exhibit 7
                                              Part D Pg 5 of 21
     Startup Date: The day designated as such pursuant to Article X hereof.

     Stated Principal Balance: With respect to any Mortgage Loan or related REO
Property, at any given time, (i) the sum of (a) the Cut-off Date Principal
Balance of the Mortgage Loan, and (b) any amount by which the Stated Principal
Balance of the Mortgage Loan has been increased pursuant to a Servicing
Modification, minus (ii) the sum of (a) the principal portion of the Monthly
Payments due with respect to such Mortgage Loan or REO Property during each Due
Period commencing on the first Due Period after the Cut-Off Date and ending with
the Due Period related to the most recent Distribution Date which were received
or with respect to which an Advance was made, and (b) all Principal Prepayments
with respect to such Mortgage Loan or REO Property, and all Insurance Proceeds,
Liquidation Proceeds and REO Proceeds, to the extent applied by the Master
Servicer as recoveries of principal in accordance with Section 3.14 with respect
to such Mortgage Loan or REO Property, in each case which were distributed
pursuant to Section 4.02 or 4.03 on any previous Distribution Date, and (c) any
Realized Loss incurred with respect to such Mortgage Loan allocated to
Certificateholders with respect thereto for any previous Distribution Date.

     Stepdown Date: The Distribution Date which is the earlier to occur of (i)
the Distribution Date immediately succeeding the Distribution Date on which the
aggregate Certificate Principal Balance of the Class A Certificates has been
reduced to zero or (ii) the later to occur of (x) the Distribution Date
occurring in May 2009 and (y) the first Distribution Date on which the Senior
Enhancement Percentage is equal to or greater than 21.60%.

     Subordination: The provisions described in Section 4.05 relating to the
allocation of Realized Losses.

     Subordination Percentage: With respect to the Class A Certificates, 78.40%;
with respect to the Class M-1 Certificates, 82.50%; with respect to the Class
M-2 Certificates, 86.20%; with


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respect to the Class M-3 Certificates, 88.40%; with respect to the Class M-4
Certificates, 90.40%; with respect to the Class M-5 Certificates, 92.30%; with
respect to the Class M-6 Certificates, 93.70%; with respect to the Class M-7
Certificates, 94.70%; with respect to the Class M-8 Certificates, 95.70%; and
with respect to the Class M-9 Certificates, 97.70%.

     Subsequent Recoveries: As of any Distribution Date, amounts received by the
Master Servicer (net of any related expenses permitted to be reimbursed pursuant
to Section 3.10) or surplus amounts held by the Master Servicer to cover
estimated expenses (including, but not limited to, recoveries in respect of the
representations and warranties made by the related Seller pursuant to the
applicable Seller's Agreement and assigned to the Trustee pursuant to Section
2.04) specifically related to a Mortgage Loan that was the subject of a Cash
Liquidation or an REO Disposition prior to the related Prepayment Period and
that resulted in a Realized Loss.

     Subserviced Mortgage Loan: Any Mortgage Loan that, at the time of reference
thereto, is subject to a Subservicing Agreement.

     Subservicer: Any Person with whom the Master Servicer has entered into a
Subservicing Agreement and who generally satisfied the requirements set forth in
the Program Guide in respect of the qualification of a Subservicer as of the
date of its approval as a Subservicer by the Master Servicer.

     Subservicer Advance: Any delinquent installment of principal and interest
on a Mortgage Loan which is advanced by the related Subservicer (net of its
Subservicing Fee) pursuant to the Subservicing Agreement.

     Subservicing Account: An account established by a Subservicer in accordance
with Section 3.08.

     Subservicing Agreement: The written contract between the Master Servicer
and any Subservicer relating to servicing and administration of certain Mortgage
Loans as provided in Section 3.02, generally in the form of the servicer
contract referred to or contained in the Program Guide or in such other form as
has been approved by the Master Servicer and the Depositor.
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Accrual Period, will equal the rate for one month United States dollar deposits
                                                                                          Exhibit 7
                                              Part
that appears on the Telerate Screen Page 3750 as of D   Pga.m.,
                                                    11:00  6 of London
                                                                21     time, on
such LIBOR Rate Adjustment Date. "Telerate Screen Page 3750" means the display
designated as page 3750 on the Bridge Telerate Service (or such other page as
may replace page 3750 on that service for the purpose of displaying London
interbank offered rates of major banks). If such rate does not appear on such
page (or such other page as may replace that page on that service, or if such
service is no longer offered, LIBOR shall be so established by use of such other
service for displaying LIBOR or comparable rates as may be selected by the
Trustee after consultation with the Master Servicer), the rate will be the
Reference Bank Rate. The "Reference Bank Rate" will be determined on the basis
of the rates at which deposits in U.S. Dollars are offered by the reference
banks (which shall be any three major banks that are engaged in transactions in
the London interbank market, selected by the Trustee after consultation with the
Master Servicer) as of 11:00 a.m., London time, on the LIBOR Rate Adjustment
Date to prime banks in the London interbank market for a period of one month in
amounts approximately equal to the aggregate Certificate Principal Balance of
the Class A and


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Class M Certificates then outstanding. The Trustee shall request the principal
London office of each of the reference banks to provide a quotation of its rate.
If at least two such quotations are provided, the rate will be the arithmetic
mean of the quotations rounded up to the next multiple of 1/16%. If on such date
fewer than two quotations are provided as requested, the rate will be the
arithmetic mean of the rates quoted by one or more major banks in New York City,
selected by the Trustee after consultation with the Master Servicer, as of 11:00
a.m., New York City time, on such date for loans in U.S. Dollars to leading
European banks for a period of one month in amounts approximately equal to the
aggregate Certificate Principal Balance of the Class A and Class M Certificates
then outstanding. If no such quotations can be obtained, the rate will be LIBOR
for the prior Distribution Date; provided however, if, under the priorities
described above, LIBOR for a Distribution Date would be based on LIBOR for the
previous Distribution Date for the third consecutive Distribution Date, the
Trustee shall select an alternative comparable index (over which the Trustee has
no control), used for determining one-month Eurodollar lending rates that is
calculated and published (or otherwise made available) by an independent party.
The establishment of LIBOR by the Trustee on any LIBOR Rate Adjustment Date and
the Trustee's subsequent calculation of the Pass-Through Rates applicable to the
Class A and Class M Certificates for the relevant Interest Accrual Period, in
the absence of manifest error, will be final and binding. Promptly following
each LIBOR Rate Adjustment Date the Trustee shall supply the Master Servicer
with the results of its determination of LIBOR on such date. Furthermore, the
Trustee shall supply to any Certificateholder so requesting by calling the
Trustee at 1-800-275-2048 the Pass-Through Rate on the Class A and Class M
Certificates for the current and the immediately preceding Interest Accrual
Period.

                                   ARTICLE II
                          CONVEYANCE OF MORTGAGE LOANS;
                        ORIGINAL ISSUANCE OF CERTIFICATES

     Section 2.01. Conveyance of Mortgage Loans.

     (a) The Depositor, concurrently with the execution and delivery hereof,
does hereby assign to the Trustee without recourse all the right, title and
interest of the Depositor in and to (i) the Mortgage Loans, including all
interest and principal on or with respect to the Mortgage Loans due on or after
the Cut-off Date (other than Monthly Payments due on the Mortgage Loans in the
month of the Cut-off Date); and (ii) all proceeds of the foregoing. In addition,
on the Closing Date, the Trustee is hereby directed to enter into the Swap
Agreement on behalf of the Trust Fund with the Swap Counterparty.

          The Depositor, the Master Servicer and the Trustee agree that it is
not intended that any mortgage loan be included in the Trust Fund that is either
(i) a "High-Cost Home Loan" as defined in the New Jersey Home Ownership Security
Act effective November 27, 2003, (ii) a "High-Cost Home Loan" as defined in the
New Mexico Home Loan Protection Act effective January 1, 2004, (iii) a "High
Cost Home Mortgage Loan" as defined in the Massachusetts Predatory Home Loan
Practices Act effective November 7, 2004 or (iv) a "High-Cost Home Loan" as
defined in the Indiana Home Loan Practices Act effective as of January 1, 2005.
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     (b) In connection with such assignment, and contemporaneously with the
                                                                                           Exhibit 7
                                              Part Dor caused
delivery of this Agreement, the Depositor delivered     Pg 7 of
                                                              to 21
                                                                  be delivered
the Pool Policy to the Trustee,


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and the Trustee, on behalf of the Certificateholders, acknowledges receipt of
the same, and except as set forth in Section 2.01(c) below and subject to
Section 2.01(d) below, the Depositor does hereby deliver to, and deposit with,
the Trustee, or to and with one or more Custodians, as the duly appointed agent
or agents of the Trustee for such purpose, the following documents or
instruments (or copies thereof as permitted by this Section) with respect to
each Mortgage Loan (other than a Cooperative Loan) so assigned:

          (i) The original Mortgage Note, endorsed without recourse to the order
     of the Trustee and showing an unbroken chain of endorsements from the
     originator thereof to the Person endorsing it to the Trustee, or with
     respect to any Destroyed Mortgage Note, an original lost note affidavit
     from the related Seller or Residential Funding stating that the original
     Mortgage Note was lost, misplaced or destroyed, together with a copy of the
     related Mortgage Note;

          (ii) The original Mortgage, noting the presence of the MIN of the
     Mortgage Loan (if the Mortgage Loan is registered on the MERS(R) System)
     and language indicating that the Mortgage Loan is a MOM Loan if the
     Mortgage Loan is a MOM Loan, with evidence of recording indicated thereon
     or, if the original Mortgage has not yet been returned from the public
     recording office, a copy of the original Mortgage with evidence of
     recording indicated thereon;

          (iii) Unless the Mortgage Loan is registered on the MERS(R) System,
     the Assignment (which may be included in one or more blanket assignments if
     permitted by applicable law) of the Mortgage to the Trustee with evidence
     of recording indicated thereon or a copy of such assignment with evidence
     of recording indicated thereon;

          (iv) The original recorded assignment or assignments of the Mortgage
     showing an unbroken chain of title from the originator to the Person
     assigning it to the Trustee (or to MERS, if the Mortgage Loan is registered
     on the MERS(R) System and noting the presence of a MIN) with evidence of
     recordation noted thereon or attached thereto, or a copy of such assignment
     or assignments of the Mortgage with evidence of recording indicated
     thereon; and

          (v) The original of each modification, assumption agreement or
     preferred loan agreement, if any, relating to such Mortgage Loan, or a copy
     of each modification, assumption agreement or preferred loan agreement.

(II) with respect to each Cooperative Loan so assigned:

     (i)    The original Mortgage Note, endorsed without recourse to the order of
            the Trustee and showing an unbroken chain of endorsements from the
            originator thereof to the Person endorsing it to the Trustee, or with
            respect to any Destroyed Mortgage Note, an original lost note
            affidavit from the related Seller or Residential Funding stating that
            the original Mortgage Note was lost, misplaced or destroyed, together
            with a copy of the related Mortgage Note;


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     (ii)   A counterpart of the Cooperative Lease and the Assignment of
            Proprietary Lease to the originator of the Cooperative Loan with
            intervening assignments showing an unbroken chain of title from such
            originator to the Trustee;

     (iii) The related Cooperative Stock Certificate, representing the related
           Cooperative Stock pledged with respect to such Cooperative Loan,
           together with an undated stock power (or other similar instrument)
           executed in blank;
            12-12020-mg     Doc 1740-10      Filed 10/05/12    Entered 10/05/12 19:18:12   Exhibit 7
     (iv)   The original recognition agreement by the Cooperative of the
                                               Part to
            interests of the mortgagee with respect D thePgrelated
                                                            8 of 21Cooperative
            Loan;

     (v)    The Security Agreement;

     (vi)   Copies of the original UCC-1 financing statement, and any
            continuation statements, filed by the originator of such Cooperative
            Loan as secured party, each with evidence of recording thereof,
            evidencing the interest of the originator under the Security
            Agreement and the Assignment of Proprietary Lease;

     (vii) Copies of the filed UCC-3 assignments or amendments of the security
           interest referenced in clause (vi) above showing an unbroken chain of
           title from the originator to the Trustee, each with evidence of
           recording thereof, evidencing the interest of the originator under
           the Security Agreement and the Assignment of Proprietary Lease;

     (viii) An executed assignment of the interest of the originator in the
           Security Agreement, Assignment of Proprietary Lease and the
           recognition agreement referenced in clause (iv) above, showing an
           unbroken chain of title from the originator to the Trustee;

     (ix)   The original of each modification, assumption agreement or preferred
            loan agreement, if any, relating to such Cooperative Loan; and

     (x)    A duly completed UCC-1 financing statement showing the Master
            Servicer as debtor, the Depositor as secured party and the Trustee as
            assignee and a duly completed UCC-1 financing statement showing the
            Depositor as debtor and the Trustee as secured party, each in a form
            sufficient for filing, evidencing the interest of such debtors in the
            Cooperative Loans.

     The Depositor may, in lieu of delivering the original of the documents set
forth in Section 2.01(b)(ii), (iii), (iv) and (v) (or copies thereof as
permitted by Section 2.01(b)) to the Trustee or the Custodian, deliver such
documents to the Master Servicer, and the Master Servicer shall hold such
documents in trust for the use and benefit of all present and future
Certificateholders until such time as is set forth in the next sentence. Within
thirty Business Days following the earlier of (i) the receipt of the original of
all of the documents or instruments set forth in Section 2.01(b)(ii), (iii),
(iv) and (v) (or copies thereof as permitted by such Section) for any Mortgage
Loan and (ii) a written request by the Trustee to deliver those documents with
respect to any or all of the Mortgage Loans then being held by the Master
Servicer, the Master


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Servicer shall deliver a complete set of such documents to the Trustee or the
Custodian that is the duly appointed agent of the Trustee.

     (c) Notwithstanding the provisions of Section 2.01(b), in the event that in
connection with any Mortgage Loan, if the Depositor cannot deliver the original
of the Mortgage, any assignment, modification, assumption agreement or preferred
loan agreement (or copy thereof as permitted by Section 2.01(b)) with evidence
of recording thereon concurrently with the execution and delivery of this
Agreement because of (i) a delay caused by the public recording office where
such Mortgage, assignment, modification, assumption agreement or preferred loan
agreement as the case may be, has been delivered for recordation, or (ii) a
delay in the receipt of certain information necessary to prepare the related
assignments, the Depositor shall deliver or cause to be delivered to the Trustee
or the respective Custodian a copy of such Mortgage, assignment, modification,
assumption agreement or preferred loan agreement.

     The Depositor shall promptly cause to be recorded in the appropriate public
office for real property records the Assignment referred to in clause (iii) of
Section 2.01(b), except (a) in states where, in the Opinion of Counsel
acceptable to the Master Servicer, such recording is not required to protect the
Trustee's interests in the Mortgage Loan or (b) if MERS is identified on the
Mortgage or on a properly recorded assignment of the Mortgage as the mortgagee
of record solely as nominee for Residential Funding and its successors and
assigns, and shall promptly cause to be filed the Form UCC-3 assignment and
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UCC-1 financing statement referred to in clause (II)(vii) and (x), respectively,
                                                                                          Exhibit 7
                                              PartorDForm
of Section 2.01(b). If any Assignment, Form UCC-3       PgUCC-1,
                                                           9 of 21
                                                                 as applicable,
is lost or returned unrecorded to the Depositor because of any defect therein,
the Depositor shall prepare a substitute Assignment, Form UCC-3 or Form UCC-1,
as applicable, or cure such defect, as the case may be, and cause such
Assignment to be recorded in accordance with this paragraph. The Depositor shall
promptly deliver or cause to be delivered to the Trustee or the respective
Custodian such Mortgage or Assignment or Form UCC-3 or Form UCC-1, as
applicable, (or copy thereof as permitted by Section 2.01(b)) with evidence of
recording indicated thereon at the time specified in Section 2.01(c). In
connection with its servicing of Cooperative Loans, the Master Servicer will use
its best efforts to file timely continuation statements with regard to each
financing statement and assignment relating to Cooperative Loans as to which the
related Cooperative Apartment is located outside of the State of New York.

     If the Depositor delivers to the Trustee or Custodian any Mortgage Note or
Assignment of Mortgage in blank, the Depositor shall, or shall cause the
Custodian to, complete the endorsement of the Mortgage Note and the Assignment
of Mortgage in the name of the Trustee in conjunction with the Interim
Certification issued by the Custodian, as contemplated by Section 2.02.

     Any of the items set forth in Sections 2.01(b)(ii), (iii), (iv) and (v)
that may be delivered as a copy rather than the original may be delivered to the
Trustee or the Custodian.

     In connection with the assignment of any Mortgage Loan registered on the
MERS(R) System, the Depositor further agrees that it will cause, at the
Depositor's own expense, within 30 Business Days after the Closing Date, the
MERS(R) System to indicate that such Mortgage Loans have been assigned by the
Depositor to the Trustee in accordance with this Agreement for the


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benefit of the Certificateholders by including (or deleting, in the case of
Mortgage Loans which are repurchased in accordance with this Agreement) in such
computer files (a) the code in the field which identifies the specific Trustee
and (b) the code in the field "Pool Field" which identifies the series of the
Certificates issued in connection with such Mortgage Loans. The Depositor
further agrees that it will not, and will not permit the Master Servicer to, and
the Master Servicer agrees that it will not, alter the codes referenced in this
paragraph with respect to any Mortgage Loan during the term of this Agreement
unless and until such Mortgage Loan is repurchased in accordance with the terms
of this Agreement.

     (d) It is intended that the conveyances by the Depositor to the Trustee of
the Mortgage Loans as provided for in this Section 2.01 be construed as a sale
by the Depositor to the Trustee of the Mortgage Loans for the benefit of the
Certificateholders. Further, it is not intended that any such conveyance be
deemed to be a pledge of the Mortgage Loans by the Depositor to the Trustee to
secure a debt or other obligation of the Depositor. However, in the event that
the Mortgage Loans are held to be property of the Depositor or of Residential
Funding, or if for any reason this Agreement is held or deemed to create a
security interest in the Mortgage Loans, then it is intended that (a) this
Agreement shall also be deemed to be a security agreement within the meaning of
Articles 8 and 9 of the New York Uniform Commercial Code and the Uniform
Commercial Code of any other applicable jurisdiction; (b) the conveyances
provided for in this Section 2.01 shall be deemed to be (1) a grant by the
Depositor to the Trustee of a security interest in all of the Depositor's right
(including the power to convey title thereto), title and interest, whether now
owned or hereafter acquired, in and to (A) the Mortgage Loans, including (a)(i)
with respect to each Cooperative Loan, the related Mortgage Note, Security
Agreement, Assignment of Proprietary Lease, Cooperative Stock Certificate and
Cooperative Lease, (ii) with respect to each Mortgage Loan other than a
Cooperative Loan, the related Mortgage Note and Mortgage, and (b) any insurance
policies and all other documents in the related Mortgage File, (B) all amounts
payable pursuant to the Mortgage Loans or the Swap Agreement in accordance with
the terms thereof and (C) any and all general intangibles, payment intangibles,
accounts, chattel paper, instruments, documents, money, deposit accounts,
certificates of deposit, goods, letters of credit, advices of credit and
investment property and other property of whatever kind or description now
existing or hereafter acquired consisting of, arising from or relating to any of
the foregoing, and all proceeds of the conversion, voluntary or involuntary, of
the foregoing into cash, instruments, securities or other property, including
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without limitation all amounts from time to time held or invested in the
                                                                                          Exhibit 7
Certificate Account or the Custodial Account, Part D inPgthe
                                              whether      10form
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                                                                  of cash,
instruments, securities or other property and (2) an assignment by the Depositor
to the Trustee of any security interest in any and all of Residential Funding's
right (including the power to convey title thereto), title and interest, whether
now owned or hereafter acquired, in and to the property described in the
foregoing clauses (1)(A), (B) and (C) granted by Residential Funding to the
Depositor pursuant to the Assignment Agreement; (c) the possession by the
Trustee, the Custodian or any other agent of the Trustee of Mortgage Notes or
such other items of property as they constitute instruments, money, payment
intangibles, negotiable documents, goods, deposit accounts, letters of credit,
advices of credit, investment property, certificated securities or chattel paper
shall be deemed to be "possession by the secured party," or possession by a
purchaser or a person designated by such secured party, for purposes of
perfecting the security interest pursuant to the Uniform Commercial Code as in
effect in the States of New York and Minnesota and any other applicable
jurisdiction; and (d) notifications to persons holding such property, and
acknowledgments,


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receipts or confirmations from persons holding such property, shall be deemed
notifications to, or acknowledgments, receipts or confirmations from, securities
intermediaries, bailees or agents of, or persons holding for, (as applicable)
the Trustee for the purpose of perfecting such security interest under
applicable law.

     The Depositor and, at the Depositor's direction, Residential Funding and
the Trustee shall, to the extent consistent with this Agreement, take such
reasonable actions as may be necessary to ensure that, if this Agreement were
deemed to create a security interest in the Mortgage Loans and the other
property described above, such security interest would be deemed to be a
perfected security interest of first priority under applicable law and will be
maintained as such throughout the term of this Agreement. Without limiting the
generality of the foregoing, the Depositor shall prepare and deliver to the
Trustee not less than 15 days prior to any filing date and, the Trustee shall
forward for filing, or shall cause to be forwarded for filing, at the expense of
the Depositor, all filings necessary to maintain the effectiveness of any
original filings necessary under the Uniform Commercial Code as in effect in any
jurisdiction to perfect the Trustee's security interest in or lien on the
Mortgage Loans, as evidenced by an Officers' Certificate of the Depositor,
including without limitation (x) continuation statements, and (y) such other
statements as may be occasioned by (1) any change of name of Residential
Funding, the Depositor or the Trustee (such preparation and filing shall be at
the expense of the Trustee, if occasioned by a change in the Trustee's name),
(2) any change of location of the place of business or the chief executive
office of Residential Funding or the Depositor or (3) any transfer of any
interest of Residential Funding or the Depositor in any Mortgage Loan.

     Section 2.02. Acceptance by Trustee.

     The Trustee acknowledges receipt (or, with respect to Mortgage Loans
subject to a Custodial Agreement, and based solely upon a receipt or
certification executed by the Custodian, receipt by the respective Custodian as
the duly appointed agent of the Trustee) of the documents referred to in Section
2.01(b)(i) above (except that for purposes of such acknowledgment only, a
Mortgage Note may be endorsed in blank and an Assignment of Mortgage may be in
blank) and declares that it, or a Custodian as its agent, holds and will hold
such documents and the other documents constituting a part of the Mortgage Files
delivered to it, or a Custodian as its agent, in trust for the use and benefit
of all present and future Certificateholders. The Trustee or Custodian (such
Custodian being so obligated under a Custodial Agreement) agrees, for the
benefit of Certificateholders, to review each Mortgage File delivered to it
pursuant to Section 2.01(b) within 45 days after the Closing Date to ascertain
that all required documents (specifically as set forth in Section 2.01(b)), have
been executed and received, and that such documents relate to the Mortgage Loans
identified on the Mortgage Loan Schedule, as supplemented, that have been
conveyed to it, and to deliver to the Trustee a certificate (the "Interim
Certification") to the effect that all documents required to be delivered
pursuant to Section 2.01(b) above have been executed and received and that such
documents relate to the Mortgage Loans identified on the Mortgage Loan Schedule,
except for any exceptions listed on Schedule A attached to such Interim
Certification. Upon delivery of the Mortgage Files by the Depositor or the
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Master Servicer, the Trustee shall acknowledge receipt (or, with respect to
                                                                                          Exhibit 7
                                              Partand
Mortgage Loans subject to a Custodial Agreement,    D based
                                                        Pg 11  of 21
                                                            solely upon a receipt
or certification (the "Final Certification") executed by the Custodian, receipt
by the respective


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Custodian as the duly appointed agent of the Trustee) of the documents referred
to in Section 2.01(b) above.

     If the Custodian, as the Trustee's agent, finds any document or documents
constituting a part of a Mortgage File to be missing or defective, upon receipt
of notification from the Custodian as specified in the succeeding sentence, the
Trustee shall promptly so notify or cause the Custodian to notify the Master
Servicer and the Depositor; provided, that if the Mortgage Loan related to such
Mortgage File is listed on Schedule A of the Assignment Agreement, no
notification shall be necessary. Pursuant to Section 2.3 of the Custodial
Agreement, the Custodian will notify the Master Servicer, the Depositor and the
Trustee of any such omission or defect found by it in respect of any Mortgage
File held by it in respect of the items received by it pursuant to the Custodial
Agreement. If such omission or defect materially and adversely affects the
interests in the related Mortgage Loan of the Certificateholders, the Master
Servicer shall promptly notify Residential Funding of such omission or defect
and request that Residential Funding correct or cure such omission or defect
within 60 days from the date the Master Servicer was notified of such omission
or defect and, if Residential Funding does not correct or cure such omission or
defect within such period, then Residential Funding shall purchase such Mortgage
Loan from the Trust Fund at its Purchase Price, in either case within 90 days
from the date the Master Servicer was notified of such omission or defect;
provided that if the omission or defect would cause the Mortgage Loan to be
other than a "qualified mortgage" as defined in Section 860G(a)(3) of the Code,
any such cure or repurchase must occur within 90 days from the date such breach
was discovered; and provided further, that no cure, substitution or repurchase
shall be required if such omission or defect is in respect of a Mortgage Loan
listed on Schedule A of the Assignment Agreement. The Purchase Price for any
such Mortgage Loan shall be deposited or caused to be deposited by the Master
Servicer in the Custodial Account maintained by it pursuant to Section 3.07 and,
upon receipt by the Trustee of written notification of such deposit signed by a
Servicing Officer, the Trustee or any Custodian, as the case may be, shall
release to Residential Funding the related Mortgage File and the Trustee shall
execute and deliver such instruments of transfer or assignment prepared by the
Master Servicer, in each case without recourse, as shall be necessary to vest in
Residential Funding or its designee any Mortgage Loan released pursuant hereto
and thereafter such Mortgage Loan shall not be part of the Trust Fund. In
furtherance of the foregoing, if the Subservicer or Residential Funding that
repurchases the Mortgage Loan is not a member of MERS and the Mortgage is
registered on the MERS System, the Master Servicer, at its own expense and
without any right of reimbursement, shall cause MERS to execute and deliver an
assignment of the Mortgage in recordable form to transfer the Mortgage from MERS
to such Subservicer or Residential Funding and shall cause such Mortgage to be
removed from registration on the MERS System in accordance with MERS's rules and
regulations. It is understood and agreed that the obligation of Residential
Funding, to so cure or purchase any Mortgage Loan as to which a material and
adverse defect in or omission of a constituent document exists shall constitute
the sole remedy respecting such defect or omission available to
Certificateholders or the Trustee on behalf of Certificateholders.

     Section 2.03. Representations, Warranties and Covenants of the Master
                   Servicer and the Depositor.

     (a) The Master Servicer hereby represents and warrants to the Trustee for
the benefit of the Certificateholders that:


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          (i) The Master Servicer is a corporation duly organized, validly
     existing and in good standing under the laws governing its creation and
     existence and is or will be in compliance with the laws of each state in
     which any Mortgaged Property is located to the extent necessary to ensure
     the enforceability of each Mortgage Loan in accordance with the terms of
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     this Agreement;
                                             Part D Pg 12 of 21
          (ii) The execution and delivery of this Agreement by the Master
     Servicer and its performance and compliance with the terms of this
     Agreement will not violate the Master Servicer's Certificate of
     Incorporation or Bylaws or constitute a material default (or an event
     which, with notice or lapse of time, or both, would constitute a material
     default) under, or result in the material breach of, any material contract,
     agreement or other instrument to which the Master Servicer is a party or
     which may be applicable to the Master Servicer or any of its assets;

          (iii) This Agreement, assuming due authorization, execution and
     delivery by the Trustee and the Depositor, constitutes a valid, legal and
     binding obligation of the Master Servicer, enforceable against it in
     accordance with the terms hereof subject to applicable bankruptcy,
     insolvency, reorganization, moratorium and other laws affecting the
     enforcement of creditors' rights generally and to general principles of
     equity, regardless of whether such enforcement is considered in a
     proceeding in equity or at law;

          (iv) The Master Servicer is not in default with respect to any order
     or decree of any court or any order, regulation or demand of any federal,
     state, municipal or governmental agency, which default might have
     consequences that would materially and adversely affect the condition
     (financial or other) or operations of the Master Servicer or its properties
     or might have consequences that would materially adversely affect its
     performance hereunder;

          (v) No litigation is pending or, to the best of the Master Servicer's
     knowledge, threatened against the Master Servicer which would prohibit its
     entering into this Agreement or performing its obligations under this
     Agreement;

          (vi) The Master Servicer shall comply in all material respects in the
     performance of this Agreement with all reasonable rules and requirements of
     each insurer under each Required Insurance Policy;

          (vii) No information, certificate of an officer, statement furnished
     in writing or report delivered to the Depositor, any Affiliate of the
     Depositor or the Trustee by the Master Servicer will, to the knowledge of
     the Master Servicer, contain any untrue statement of a material fact or
     omit a material fact necessary to make the information, certificate,
     statement or report not misleading;

          (viii) The Master Servicer has examined each existing, and will
     examine each new, Subservicing Agreement and is or will be familiar with
     the terms thereof. The terms of each existing Subservicing Agreement and
     each designated Subservicer are acceptable to the Master Servicer and any
     new Subservicing Agreements will comply with the provisions of Section
     3.02; and


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          (ix) The Master Servicer is a member of MERS in good standing, and
     will comply in all material respects with the rules and procedures of MERS
     in connection with the servicing of the Mortgage Loans that are registered
     with MERS.

     It is understood and agreed that the representations and warranties set
forth in this Section 2.03(a) shall survive delivery of the respective Mortgage
Files to the Trustee or any Custodian. Upon discovery by either the Depositor,
the Master Servicer, the Trustee or any Custodian of a breach of any
representation or warranty set forth in this Section 2.03(a) which materially
and adversely affects the interests of the Certificateholders in any Mortgage
Loan, the party discovering such breach shall give prompt written notice to the
other parties (any Custodian being so obligated under a Custodial Agreement).
Within 90 days of its discovery or its receipt of notice of such breach, the
Master Servicer shall either (i) cure such breach in all material respects or
(ii) to the extent that such breach is with respect to a Mortgage Loan or a
related document, purchase such Mortgage Loan from the Trust Fund at the
Purchase Price and in the manner set forth in Section 2.02; provided that if the
breach would cause the Mortgage Loan to be other than a "qualified mortgage" as
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defined in Section 860G(a)(3) of the Code, any such cure or repurchase must
                                                                                           Exhibit 7
occur within 90 days from the date such breachPart
                                               was D    Pg 13 ofThe21obligation of
                                                    discovered.
the Master Servicer to cure such breach or to so purchase such Mortgage Loan
shall constitute the sole remedy in respect of a breach of a representation and
warranty set forth in this Section 2.03(a) available to the Certificateholders
or the Trustee on behalf of the Certificateholders.

     (b) The Depositor hereby represents and warrants to the Trustee for the
benefit of the Certificateholders that as of the Closing Date (or, if otherwise
specified below, as of the date so specified): (i) the information set forth in
Exhibit G hereto with respect to each Mortgage Loan or the Mortgage Loans, as
the case may be, is true and correct in all material respects at the respective
date or dates which such information is furnished; (ii) immediately prior to the
conveyance of the Mortgage Loans to the Trustee, the Depositor had good title
to, and was the sole owner of, each Mortgage Loan free and clear of any pledge,
lien, encumbrance or security interest (other than rights to servicing and
related compensation) and such conveyance validly transfers ownership of the
Mortgage Loans to the Trustee free and clear of any pledge, lien, encumbrance or
security interest; and (iii) each Mortgage Loan constitutes a qualified mortgage
under Section 860G(a)(3)(A) of the Code and Treasury Regulations Section
1.860G-2(a)(1).

     It is understood and agreed that the representations and warranties set
forth in this Section 2.03(b) shall survive delivery of the respective Mortgage
Files to the Trustee or any Custodian.

     Upon discovery by any of the Depositor, the Master Servicer, the Trustee or
any Custodian of a breach of any of the representations and warranties set forth
in this Section 2.03(b) which materially and adversely affects the interests of
the Certificateholders in any Mortgage Loan, the party discovering such breach
shall give prompt written notice to the other parties (any Custodian being so
obligated under a Custodial Agreement); provided, however, that in the event of
a breach of the representation and warranty set forth in Section 2.03(b)(iii),
the party discovering such breach shall give such notice within five days of
discovery. Within 90 days of its discovery or its receipt of notice of breach,
the Depositor shall either (i) cure such breach in all material respects or (ii)
purchase such Mortgage Loan from the


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Trust Fund at the Purchase Price and in the manner set forth in Section 2.02;
provided that the Depositor shall have the option to substitute a Qualified
Substitute Mortgage Loan or Loans for such Mortgage Loan if such substitution
occurs within two years following the Closing Date; provided that if the
omission or defect would cause the Mortgage Loan to be other than a "qualified
mortgage" as defined in Section 860G(a)(3) of the Code, any such cure,
substitution or repurchase must occur within 90 days from the date such breach
was discovered. Any such substitution shall be effected by the Depositor under
the same terms and conditions as provided in Section 2.04 for substitutions by
Residential Funding. It is understood and agreed that the obligation of the
Depositor to cure such breach or to so purchase or substitute for any Mortgage
Loan as to which such a breach has occurred and is continuing shall constitute
the sole remedy respecting such breach available to the Certificateholders or
the Trustee on behalf of the Certificateholders. Notwithstanding the foregoing,
the Depositor shall not be required to cure breaches or purchase or substitute
for Mortgage Loans as provided in this Section 2.03(b) if the substance of the
breach of a representation set forth above also constitutes fraud in the
origination of the Mortgage Loan.

     Section 2.04. Representations and Warranties of Residential Funding.

     The Depositor, as assignee of Residential Funding under the Assignment
Agreement, hereby assigns to the Trustee for the benefit of the
Certificateholders all of its right, title and interest in respect of the
Assignment Agreement applicable to a Mortgage Loan. Insofar as the Assignment
Agreement relates to the representations and warranties made by Residential
Funding in respect of such Mortgage Loan and any remedies provided thereunder
for any breach of such representations and warranties, such right, title and
interest may be enforced by the Master Servicer on behalf of the Trustee and the
Certificateholders.

     Upon the discovery by the Depositor, the Master Servicer, the Trustee or
any Custodian of a breach of any of the representations and warranties made in
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the Assignment Agreement in respect of any Mortgage Loan or of any Repurchase
                                                                                          Exhibit 7
                                              Partinterests
Event which materially and adversely affects the    D Pg 14    of 21
                                                            of the
Certificateholders in such Mortgage Loan, the party discovering such breach
shall give prompt written notice to the other parties (any Custodian being so
obligated under a Custodial Agreement). The Master Servicer shall promptly
notify Residential Funding of such breach or Repurchase Event and request that
Residential Funding either (i) cure such breach or Repurchase Event in all
material respects within 90 days from the date the Master Servicer was notified
of such breach or Repurchase Event or (ii) purchase such Mortgage Loan from the
Trust Fund at the Purchase Price and in the manner set forth in Section 2.02;
provided that, in the case of a breach or Repurchase Event under the Assignment
Agreement, Residential Funding shall have the option to substitute a Qualified
Substitute Mortgage Loan or Loans for such Mortgage Loan if such substitution
occurs within two years following the Closing Date; provided that if the breach
would cause the Mortgage Loan to be other than a "qualified mortgage" as defined
in Section 860G(a)(3) of the Code, any such cure or substitution must occur
within 90 days from the date the breach was discovered. If the breach of
representation and warranty that gave rise to the obligation to repurchase or
substitute a Mortgage Loan pursuant to Section 4 of the Assignment Agreement was
the representation and warranty set forth in clause (bb) of Section 4 thereof,
then the Master Servicer shall request that Residential Funding pay to the Trust
Fund, concurrently with and in addition to the remedies provided in the
preceding sentence, an amount equal to any liability, penalty or expense that
was actually


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incurred and paid out of or on behalf of the Trust Fund, and that directly
resulted from such breach, or if incurred and paid by the Trust Fund thereafter,
concurrently with such payment. In the event that Residential Funding elects to
substitute a Qualified Substitute Mortgage Loan or Loans for a Deleted Mortgage
Loan pursuant to this Section 2.04, Residential Funding shall deliver to the
Trustee or the Custodian for the benefit of the Certificateholders with respect
to such Qualified Substitute Mortgage Loan or Loans, the original Mortgage Note,
the Mortgage, an Assignment of the Mortgage in recordable form, and such other
documents and agreements as are required by Section 2.01, with the Mortgage Note
endorsed as required by Section 2.01. No substitution will be made in any
calendar month after the Determination Date for such month. Monthly Payments due
with respect to Qualified Substitute Mortgage Loans in the month of substitution
shall not be part of the Trust Fund and will be retained by the Master Servicer
and remitted by the Master Servicer to Residential Funding on the next
succeeding Distribution Date. For the month of substitution, distributions to
the Certificateholders will include the Monthly Payment due on a Deleted
Mortgage Loan for such month and thereafter Residential Funding shall be
entitled to retain all amounts received in respect of such Deleted Mortgage
Loan. The Master Servicer shall amend or cause to be amended the Mortgage Loan
Schedule for the benefit of the Certificateholders to reflect the removal of
such Deleted Mortgage Loan and the substitution of the Qualified Substitute
Mortgage Loan or Loans and the Master Servicer shall deliver the amended
Mortgage Loan Schedule to the Trustee and the Custodian. Upon such substitution,
the Qualified Substitute Mortgage Loan or Loans shall be subject to the terms of
this Agreement and the related Subservicing Agreement in all respects, and
Residential Funding shall be deemed to have made the representations and
warranties with respect to the Qualified Substitute Mortgage Loan contained in
Section 4 of the Assignment Agreement, as of the date of substitution, and the
covenants, representations and warranties set forth in this Section 2.04, and in
Section 2.03 hereof and in Section 4 of the Assignment Agreement, and the Master
Servicer shall be obligated to repurchase or substitute for any Qualified
Substitute Mortgage Loan as to which a Repurchase Event (as defined in the
Assignment Agreement) has occurred pursuant to Section 4 of the Assignment
Agreement.

     In connection with the substitution of one or more Qualified Substitute
Mortgage Loans for one or more Deleted Mortgage Loans, the Master Servicer shall
determine the amount (if any) by which the aggregate principal balance of all
such Qualified Substitute Mortgage Loans as of the date of substitution is less
than the aggregate Stated Principal Balance of all such Deleted Mortgage Loans
(in each case after application of the principal portion of the Monthly Payments
due in the month of substitution that are to be distributed to the
Certificateholders in the month of substitution). Residential Funding shall
deposit the amount of such shortfall into the Custodial Account on the day of
substitution, without any reimbursement therefor. Residential Funding shall give
notice in writing to the Trustee of such event, which notice shall be
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accompanied by an Officers' Certificate as to the calculation of such shortfall
                                                                                          Exhibit 7
                                              Part
and (subject to Section 10.01(f)) by an Opinion of D   Pg 15
                                                   Counsel    of 21
                                                           to the effect that
such substitution will not cause (a) any federal tax to be imposed on the Trust
Fund, including without limitation, any federal tax imposed on "prohibited
transactions" under Section 860F(a)(1) of the Code or on "contributions after
the startup date" under Section 860G(d)(1) of the Code or (b) any portion of any
REMIC created hereunder to fail to qualify as a REMIC at any time that any
Certificate is outstanding.


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     It is understood and agreed that the obligation of Residential Funding to
cure such breach or purchase (or substitute for) such Mortgage Loan as to which
such a breach has occurred and is continuing and to make any additional payments
required under the Assignment Agreement in connection with a breach of the
representation and warranty in clause (bb) of Section 4 thereof shall constitute
the sole remedy respecting such breach available to the Certificateholders or
the Trustee on behalf of the Certificateholders. If the Master Servicer is
Residential Funding, then the Trustee shall also have the right (i) to give the
notification and require the purchase or substitution provided for in the second
preceding paragraph in the event of such a breach of a representation or
warranty made by Residential Funding in the Assignment Agreement or (ii) to give
the notification and require the purchase or substitution provided for in
Section 6 of the Assignment Agreement. In connection with the purchase of or
substitution for any such Mortgage Loan by Residential Funding, the Trustee
shall assign to Residential Funding all of the right, title and interest in
respect of the Assignment Agreement applicable to such Mortgage Loan.

     Section 2.05. Execution and Authentication of Certificates; Conveyance of
                   REMIC Regular Interests.

     (a) The Trustee acknowledges the assignment to it of the Mortgage Loans and
the delivery of the Mortgage Files to it, or any Custodian on its behalf,
subject to any exceptions noted, together with the assignment to it of all other
assets included in the Trust Fund, receipt of which is hereby acknowledged.
Concurrently with such delivery and in exchange therefor, the Trustee, pursuant
to the written request of the Depositor executed by an officer of the Depositor,
has executed and caused to be authenticated and delivered to or upon the order
of the Depositor the Certificates in authorized denominations which evidence
ownership of the entire Trust Fund.

     (b) The Depositor, as of the Closing Date, and concurrently with the
execution and delivery hereof, does hereby assign without recourse all the
right, title and interest of the Depositor in and to the Uncertificated REMIC I
Regular Interests to the Trustee for the benefit of the holders of each Class of
Certificates (other than the Class R-I Certificates). The Trustee acknowledges
receipt of the Uncertificated REMIC I Regular Interests and declares that it
holds and will hold the same in trust for the exclusive use and benefit of all
present and future holders of each Class of Certificates (other than the Class
R-I Certificates).

     (c) The Depositor concurrently with the execution and delivery hereof, does
hereby transfer, assign, set over and otherwise convey in trust to the Trustee
without recourse all the right, title and interest of the Depositor in and to
the REMIC I Regular Interests, and the other assets of REMIC II for the benefit
of the holders of the REMIC II Regular Interests and the Class R-II
Certificates. The Trustee acknowledges receipt of the REMIC I Regular Interests
(which are uncertificated) and the other assets of REMIC II and declares that it
holds and will hold the same in trust for the exclusive use and benefit of the
holders of the REMIC II Regular Interests and the Class R-II Certificates.

     Section 2.06. Purposes and Powers of the Trust.

     The purpose of the trust, as created hereunder, is to engage in the
following activities:


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     (a) To sell the Certificates to the Depositor in exchange for the Mortgage
Loans;
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Determination Date, the Master Servicer shall determine any amounts owed by the
                                                                                          Exhibit 7
Swap Counterparty under the Swap Agreement andPart D the
                                               inform  PgTrustee
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                                                                  in writing of
the amount so calculated. On or prior to


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each Distribution Date, the Master Servicer shall withdraw from the Custodial
Account an amount equal to the Credit Risk Manager Fee for such Distribution
Date and shall pay such amount to the Credit Risk Manager.

     (c) The Trustee shall, upon written request from the Master Servicer,
invest or cause the institution maintaining the Certificate Account to invest
the funds in the Certificate Account in Permitted Investments designated in the
name of the Trustee for the benefit of the Certificateholders, which shall
mature not later than the Business Day next preceding the Distribution Date next
following the date of such investment (except that (i) if such Permitted
Investment is an obligation of the institution that maintains such account or a
fund for which such institution serves as custodian, then such Permitted
Investment may mature on such Distribution Date and (ii) any other investment
may mature on such Distribution Date if the Trustee shall advance funds on such
Distribution Date to the Certificate Account in the amount payable on such
investment on such Distribution Date, pending receipt thereof to the extent
necessary to make distributions on the Certificates) and shall not be sold or
disposed of prior to maturity. All income and gain realized from any such
investment shall be for the benefit of the Master Servicer and shall be subject
to its withdrawal or order from time to time. The amount of any losses incurred
in respect of any such investments shall be deposited in the Certificate Account
by the Master Servicer out of its own funds immediately as realized.

     Section 4.02. Distributions.

     (a) On each Distribution Date, the Trustee (or the Paying Agent on behalf
of the Trustee) shall allocate and distribute the Available Distribution Amount,
if any, for such date to the interests issued in respect of REMIC I and REMIC II
as specified in this Section.

     (b) (1) On each Distribution Date, the following amounts, in the following
order of priority, shall be distributed by REMIC I to REMIC II on account of the
REMIC I Regular Interests:

               i. to the extent of the Available Distribution Amount (other than
               the portion of the Available Distribution Amount described in
               clause (a)(vi) of the definition of Available Distribution
               Amount), to the Holders of the REMIC I Regular Interests, pro
               rata, in an amount equal to (A) the related Uncertificated
               Accrued Interest for such Distribution Date, plus (B) any amounts
               in respect thereof remaining unpaid from previous Distribution
               Dates. Amounts payable as Uncertificated Accrued Interest in
               respect of REMIC I Regular Interest ZZ shall be reduced when the
               REMIC I Overcollateralization Amount is less than the REMIC I
               Required Overcollateralization Amount, by the lesser of (x) the
               amount of such difference and (y) the REMIC I Regular Interest ZZ
               Maximum Interest Deferral Amount, and such amount will be payable
               to the Holders of REMIC I Regular Interests A-1, A-2, A-3, A-4,
               M-1, M-2, M-3, M-4, M-5, M-6, M-7, M-8 and M-9 in the same
               proportion as the Overcollateralization Increase Amount is
               allocated to the corresponding Class of Certificates, and the
               Uncertificated Principal Balance of the REMIC I Regular Interest
               ZZ shall be increased by such amount; and


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               ii. on each Distribution Date, to the Holders of REMIC I Regular
               Interests, in an amount equal to the remainder of the Available
               Distribution Amount (other than the portion of the Available
               Distribution Amount described in clause (a)(vi) of the definition
               of Available Distribution Amount) after the distributions made
               pursuant to clause (i) above, allocated as follows (except as
               provided below): (A) to the Holders of the REMIC I Regular
               Interest AA, 98.00% of such remainder until the Uncertificated
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              Principal Balance of such REMIC I Regular Interest is reduced to
                                                                                   Exhibit 7
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              zero; (B) to the Holders of REMIC        Pg 17
                                                   Regular    of 21 A-1, A-2,
                                                           Interests
               A-3, A-4, M-1, M-2, M-3, M-4, M-5, M-6, M-7, M-8 and M-9, 1.00%
               of such remainder in the same proportion as amounts are
               distributed in respect of principal on the corresponding Class of
               Certificates; (C) to the Holders of the REMIC I Regular Interest
               ZZ, 1.00% of such remainder; and (D) any remaining amounts to the
               Holders of the Class R-I Certificates; provided, however, that
               98.00% and 2.00% of any principal payments that are attributable
               to an Overcollateralization Reduction Amount shall be allocated
               to Holders of the REMIC I Regular Interest AA and REMIC I Regular
               Interest ZZ, respectively; and provided further, that any
               prepayment charges on deposit in the Certificate Account
               attributable to prepayment charges received on the Mortgage Loans
               during the related Prepayment Period shall be deemed distributed
               to REMIC II as the holder of the REMIC I Regular Interest AA.

          (2) Notwithstanding the distributions described in this Section
     4.02(b), distribution of funds from the Certificate Account shall be made
     only in accordance with Section 4.02(c).

     (c) On each Distribution Date (x) the Master Servicer on behalf of the
Trustee or (y) the Paying Agent appointed by the Trustee, shall distribute to
each Certificateholder of record on the next preceding Record Date (other than
as provided in Section 9.01 respecting the final distribution) either in
immediately available funds (by wire transfer or otherwise) to the account of
such Certificateholder at a bank or other entity having appropriate facilities
therefor, if such Certificateholder has so notified the Master Servicer or the
Paying Agent, as the case may be, or, if such Certificateholder has not so
notified the Master Servicer or the Paying Agent by the Record Date, by check
mailed to such Certificateholder at the address of such Holder appearing in the
Certificate Register such Certificateholder's share (which share with respect to
each Class of Certificates, shall be based on the aggregate of the Percentage
Interests represented by Certificates of the applicable Class held by such
Holder of the following amounts, in the following order of priority, subject to
the provisions of Section 4.02(d)), in each case to the extent of the Available
Distribution Amount on deposit in the Certificate Account (or, with respect to
clause (xxi)(B) below, to the extent of prepayment charges on deposit in the
Certificate Account and (ii) with respect to clauses (i) through (xi) below, to
the extent of the Available Distribution Amount (other than the portion of the
Available Distribution Amount described in clause (a)(vi) of the definition of
Available Distribution Amount)) and to the extent not covered by amounts on
deposit in the Swap Account:


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          (i) to the Class A Certificateholders, the Class A Interest
     Distribution Amount, with such amount allocated among the Class A
     Certificateholders on a pro rata basis;

          (ii) to the Class M-1 Certificateholders from the amount, if any, of
     the Available Distribution Amount remaining after the foregoing
     distributions, the Class M-1 Interest Distribution Amount;

          (iii) to the Class M-2 Certificateholders from the amount, if any, of
     the Available Distribution Amount remaining after the foregoing
     distributions, the Class M-2 Interest Distribution Amount;

          (iv) to the Class M-3 Certificateholders from the amount, if any, of
     the Available Distribution Amount remaining after the foregoing
     distributions, the Class M-3 Interest Distribution Amount;

          (v) to the Class M-4 Certificateholders from the amount, if any, of
     the Available Distribution Amount remaining after the foregoing
     distributions, the Class M-4 Interest Distribution Amount;

          (vi) to the Class M-5 Certificateholders from the amount, if any, of
     the Available Distribution Amount remaining after the foregoing
     distributions, the Class M-5 Interest Distribution Amount;

          (vii) to the Class M-6 Certificateholders from the amount, if any, of
     the Available Distribution Amount remaining after the foregoing
     distributions, the Class M-6 Interest Distribution Amount;
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     (viii) to the Class M-7 Certificateholders   Pgthe
                                                     18 amount,
                                                        of 21 if any, of
the Available Distribution Amount remaining after the foregoing
distributions, the Class M-7 Interest Distribution Amount;

     (ix) to the Class M-8 Certificateholders from the amount, if any, of
the Available Distribution Amount remaining after the foregoing
distributions, the Class M-8 Interest Distribution Amount;

     (x) to the Class M-9 Certificateholders from the amount, if any, of
the Available Distribution Amount remaining after the foregoing
distributions, the Class M-9 Interest Distribution Amount;

     (xi) to the Class A and Class M Certificateholders, from the amount,
if any, of the Available Distribution Amount remaining after the foregoing
distributions, the Principal Distribution Amount (other than the amounts
set forth in clauses (b)(iv), (b)(v), and (b)(vi) of the definition
thereof), in the order of priority described in Section 4.02(d) hereof,
until the Certificate Principal Balances of the Class A and Class M
Certificates have been reduced to zero;


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     (xii) to the Class A and Class M Certificateholders, from the amount,
if any, of the Excess Cash Flow, an amount equal to the principal portion
of Realized Losses previously allocated to reduce the Certificate Principal
Balance of any Class of the Class A and Class M Certificates and remaining
unreimbursed, but only to the extent of Subsequent Recoveries for that
Distribution Date, which amount shall be included in the Principal
Distribution Amount and paid in accordance with Section 4.02(d) hereof,
until the Certificate Principal Balances of the Class A and Class M
Certificates have been reduced to zero;

     (xiii) to the Class A and Class M Certificateholders, from the amount,
if any, of the Excess Cash Flow remaining after the foregoing
distributions, an amount equal to the principal portion of Realized Losses
on the Mortgage Loans during the immediately preceding Prepayment Period,
which amount shall be included in the Principal Distribution Amount and
paid in accordance with Section 4.02(d) hereof, until the Certificate
Principal Balances of the Class A Certificates and Class M Certificates
have been reduced to zero;

     (xiv) to the Class A and Class M Certificateholders, from the amount,
if any, of the Excess Cash Flow remaining after the foregoing
distributions, the Overcollateralization Increase Amount for such
Distribution Date, which amount shall be included in the Principal
Distribution Amount and paid in accordance with Section 4.02(d) hereof,
until the Certificate Principal Balances of the Class A and Class M
Certificates have been reduced to zero to the extent not covered by any
payments under the Swap Agreement pursuant to Section 4.09(c)(ii);

     (xv) to the Class A and Class M Certificateholders from the amount, if
any, of the Excess Cash Flow remaining after the foregoing distributions,
the amount of any Prepayment Interest Shortfalls allocated thereto for such
Distribution Date, on a pro rata basis based on Prepayment Interest
Shortfalls previously allocated thereto that remain unreimbursed, to the
extent not covered by Eligible Master Servicing Compensation on such
Distribution Date to the extent not covered by any payments under the Swap
Agreement pursuant to Section 4.09(c)(iii);

     (xvi) to the Class A and Class M Certificateholders from the amount,
if any, of the Excess Cash Flow remaining after the foregoing
distributions, the amount of any Prepayment Interest Shortfalls previously
allocated thereto on any prior Distribution Date that remain unreimbursed,
together with interest thereon at the applicable Pass-Through Rate, on a
pro rata basis based on Prepayment Interest Shortfalls previously allocated
thereto that remain unreimbursed to the extent not covered by any payments
under the Swap Agreement pursuant to Section 4.09(c)(iv);

     (xvii) from the amount, if any, of the Excess Cash Flow remaining
after the foregoing distributions, to pay the Class A Certificates, on a
pro rata basis, based on the amount of Class A Basis Risk Shortfall
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     Carry-Forward Amount previously allocated thereto that remain unreimbursed,
                                                                                          Exhibit 7
                                              Part DCarry-Forward
     the amount of any Class A Basis Risk Shortfall    Pg 19 of 21Amounts
     remaining unpaid as of such Distribution Date, and then to the Class M
     Certificates, in their order of their payment priority, the amount of any
     Class M


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     Basis Risk Shortfall Carry-Forward Amounts remaining unpaid as of such
     Distribution Date to the extent not covered by any payments under the Swap
     Agreement pursuant to Section 4.09(c)(v);

          (xviii) to the Class A and Class M Certificates on a pro rata basis,
     based on the amount of Relief Act Shortfalls allocated thereto on such
     Distribution Date, from the amount, if any, of the Excess Cash Flow
     remaining after the foregoing distributions, the amount of any Relief Act
     Shortfalls allocated to those Certificates with respect to such
     Distribution Date to the extent not covered by any payments under the Swap
     Agreement pursuant to Section 4.09(c)(vi);

          (xix) to the Class A and Class M Certificateholders, from the amount,
     if any, of the Excess Cash Flow remaining after the foregoing
     distributions, the principal portion of any Realized Losses previously
     allocated to those Certificates and remaining unreimbursed, which amount
     shall be allocated first, to the Class A Certificateholders on a pro rata
     basis, based on their respective principal portion of any Realized Losses
     previously allocated thereto that remain unreimbursed, and then to the
     Class M Certificates, in their order of payment priority;

          (xx) from the amount, if any, of the Excess Cash Flow remaining after
     the foregoing distributions, to the Swap Account for Payment to the Swap
     Counterparty, any Swap Termination Payment owed by the Trust Fund due to a
     Swap Counterparty Trigger Event;

          (xxi) to the Class SB Certificates, (A) from the amount, if any, of
     the Excess Cash Flow remaining after the foregoing distributions, the sum
     of (I) Accrued Certificate Interest thereon, (II) the amount of any
     Overcollateralization Reduction Amount for such Distribution Date and (III)
     for any Distribution Date after the Certificate Principal Balance of each
     Class of Class A Certificates and Class M Certificates has been reduced to
     zero, the Overcollateralization Amount, and (B) from prepayment charges on
     deposit in the Certificate Account, any prepayment charges received on the
     Mortgage Loans during the related Prepayment Period; and

          (xxii) to the Class R-II Certificateholders, the balance, if any, of
     the Excess Cash Flow.

     (d) On each Distribution Date, the Principal Distribution Amount will be
paid as follows:

          (i) the Class A Principal Distribution Amount shall be distributed,
     sequentially, as follows: (A) first, to the Class A-1 Certificates, until
     the Certificate Principal Balance thereof has been reduced to zero, (B)
     second, to the Class A-2 Certificates, until the Certificate Principal
     Balance thereof has been reduced to zero, and (C) third, to the Class A-3
     Certificates, until the Certificate Principal Balance thereof has been
     reduced to zero, and (D) fourth, to the Class A-4 Certificates, until the
     Certificate Principal Balance thereof has been reduced to zero;


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          (ii) the Class M-1 Principal Distribution Amount shall be distributed
     to the Class M-1 Certificates, until the Certificate Principal Balance
     thereof has been reduced to zero;

          (iii) the Class M-2 Principal Distribution Amount shall be distributed
     to the Class M-2 Certificates, until the Certificate Principal Balance
     thereof has been reduced to zero;

          (iv) the Class M-3 Principal Distribution Amount shall be distributed
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     to the Class M-3 Certificates, until the Certificate Principal Balance
                                                                                          Exhibit 7
     thereof has been reduced to zero;        Part D Pg 20 of 21
          (v) the Class M-4 Principal Distribution Amount shall be distributed
     to the Class M-4 Certificates, until the Certificate Principal Balance
     thereof has been reduced to zero;

          (vi) the Class M-5 Principal Distribution Amount shall be distributed
     to the Class M-5 Certificates, until the Certificate Principal Balance
     thereof has been reduced to zero;

          (vii) the Class M-6 Principal Distribution Amount shall be distributed
     to the Class M-6 Certificates, until the Certificate Principal Balance
     thereof has been reduced to zero;

          (viii) the Class M-7 Principal Distribution Amount shall be
     distributed to the Class M-7 Certificates, until the Certificate Principal
     Balance thereof has been reduced to zero;

          (ix) the Class M-8 Principal Distribution Amount shall be distributed
     to the Class M-8 Certificates, until the Certificate Principal Balance
     thereof has been reduced to zero; and

          (x) the Class M-9 Principal Distribution Amount shall be distributed
     to the Class M-9 Certificates, until the Certificate Principal Balance
     thereof has been reduced to zero.

     (e) Notwithstanding the foregoing clauses (c) and (d), upon the reduction
of the Certificate Principal Balance of a Class of Class A and Class M
Certificates to zero, such Class of Certificates will not be entitled to further
distributions pursuant to Section 4.02 (other than in respect of Subsequent
Recoveries).

     (f) Any Prepayment Interest Shortfalls on the Mortgage Loans which are not
covered by Eligible Master Servicing Compensation as described in Section 3.16
and Relief Act Shortfalls on the Mortgage Loans will be allocated among the
Class A and Class M Certificates, pro rata in accordance with the amount of
Accrued Certificate Interest payable on such Distribution Date absent such
shortfalls. Any such uncovered Prepayment Interest Shortfalls will be paid
solely pursuant to Section 4.02(c)(xv) and (xvi) and Section 4.09(c)(iii) and
(iv) to the


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extent funds are available therefor. Any such Relief Act Shortfalls will be paid
solely pursuant to Section 4.02(c)(xviii) and Section 4.09(c)(vi) to the extent
funds are available therefor.

     (g) In addition to the foregoing distributions, with respect to any
Subsequent Recoveries, the Master Servicer shall deposit such funds into the
Custodial Account pursuant to Section 3.07(b)(iii).

     (h) Each distribution with respect to a Book-Entry Certificate shall be
paid to the Depository, as Holder thereof, and the Depository shall be
responsible for crediting the amount of such distribution to the accounts of its
Depository Participants in accordance with its normal procedures. Each
Depository Participant shall be responsible for disbursing such distribution to
the Certificate Owners that it represents and to each indirect participating
brokerage firm (a "brokerage firm" or "indirect participating firm") for which
it acts as agent. Each brokerage firm shall be responsible for disbursing funds
to the Certificate Owners that it represents. None of the Trustee, the
Certificate Registrar, the Depositor or the Master Servicer shall have any
responsibility therefor except as otherwise provided by this Agreement or
applicable law.

     (i) Except as otherwise provided in Section 9.01, if the Master Servicer
anticipates that a final distribution with respect to any Class of Certificates
will be made on the next Distribution Date, the Master Servicer shall, no later
than the Determination Date in the month of such final distribution, notify the
Trustee and the Trustee shall, no later than two (2) Business Days after such
Determination Date, mail on such date to each Holder of such Class of
Certificates a notice to the effect that: (i) the Trustee anticipates that the
final distribution with respect to such Class of Certificates will be made on
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such Distribution Date but only upon presentation and surrender of such
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Certificates at the office of the Trustee or as    D Pgspecified
                                                otherwise  21 of 21 therein, and
(ii) no interest shall accrue on such Certificates from and after the end of the
prior calendar month. In the event that Certificateholders required to surrender
their Certificates pursuant to Section 9.01(c) do not surrender their
Certificates for final cancellation, the Trustee shall cause funds distributable
with respect to such Certificates to be held in the Certificate Account for the
benefit of such Certificateholders as provided in Section 9.01(d).

     Section 4.03. Statements to Certificateholders; Statements to Rating
                   Agencies; Exchange Act Reporting.

     (a) Concurrently with each distribution charged to the Certificate Account
and with respect to each Distribution Date the Master Servicer shall forward to
the Trustee and the Credit Risk Manager and the Trustee shall forward by mail or
otherwise make available electronically on its website (which may be obtained by
any Certificateholder by telephoning the Trustee at (877) 722-1095) to each
Holder, and the Depositor a statement setting forth the following information as
to each Class of Certificates, in each case to the extent applicable:

          (i) the applicable Record Date, Determination Date, Distribution Date
     and the date on which the Interest Accrual Period commenced;

          (ii) the aggregate amount of payments received with respect to the
     Mortgage Loans in the aggregate, including prepayment amounts;


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          (iii) the Servicing Fee and Subservicing Fee payable to the Master
     Servicer and the Subservicer;

          (iv) the amount of any other fees or expenses paid, and the identity
     of the party receiving such fees or expenses;

          (v) (A) the amount of such distribution to the Certificateholders of
     such Class applied to reduce the Certificate Principal Balance thereof, and
     (B) the aggregate amount included therein representing Principal
     Prepayments;

          (vi) the amount of such distribution to Holders of such Class of
     Certificates allocable to interest, including amounts payable as excess
     cash flow and the disposition of the excess cash flow;

          (vii) if the distribution to the Holders of such Class of Certificates
     is less than the full amount that would be distributable to such Holders if
     there were sufficient funds available therefor, the amount of the
     shortfall;

          (viii) the aggregate Certificate Principal Balance of each Class of
     Certificates, before and after giving effect to the amounts distributed on
     such Distribution Date, separately identifying any reduction thereof due to
     Realized Losses other than pursuant to an actual distribution of principal;

          (ix) the Certificate Principal Balance for each Class of Certificates
     as of the Closing Date;

          (x) the number and Stated Principal Balance of the Mortgage Loans in
     the aggregate after giving effect to the distribution of principal on such
     Distribution Date and the number of Mortgage Loans in the aggregate at the
     beginning and end of the related Due Period;

          (xi) on the basis of the most recent reports furnished to it by
     Subservicers, (A) the number and Stated Principal Balance of the Mortgage
     Loans in the aggregate that are Delinquent (1) 30-59 days, (2) 60-89 days
     and (3) 90 or more days and the number and Stated Principal Balance of the
     Mortgage Loans in the aggregate that are in foreclosure, (B) the number and
     Stated Principal Balances of the Mortgage Loans in the aggregate that are
     Reportable Modified Mortgage Loans that are in foreclosure and are REO
     Property, indicating in each case capitalized Mortgage Loans, other
     Servicing Modifications and totals, and (C) for all Reportable Modified
     Mortgage Loans, the number and Stated Principal Balances of the Mortgage
     Loans in the aggregate that have been liquidated, the subject of pay-offs
     and that have been repurchased by the Master Servicer or Seller;
